This is a habeas corpus action instituted by relator Veler Wells of August 12, 1946, against the defendant George M. Hanley, sheriff of Milwaukee county.  The petition for the writ alleged that Wells was detained by Hanley at the Milwaukee county jail, that the pretense of detaining him was that he had been convicted on March 1, 1939, of the offense of arson, second degree, in the state of Alabama and sentenced to serve ten years in an Alabama prison.  It then set out several instances in which, during the course of the trial leading to his conviction, Wells was denied rights claimed to be guaranteed him under the United States constitution, and alleged that the *Page 375 
Alabama court had no jurisdiction to try or sentence him by reason of such claimed violations.
Hanley filed a return to the writ in which he justified Wells' detention under a fugitive warrant issued by the district court of Milwaukee county on complaint, under the provisions of sec. 364.13, Wis. Stats.  It recited the conviction of Wells in the Alabama court and that he had unlawfully escaped from imprisonment thereunder, contrary to the statutes and against the peace and dignity of the state of Alabama.
Upon the issue raised by the petition and the return the trial court ordered the relator remanded to the custody of the sheriff to be held under the authority of the fugitive warrant.  From that order the relator appeals.
The issue presented is whether the detention of the relator under a fugitive warrant issued upon a complaint charging him with escape from the Alabama prison may be shown to be without legal basis by inquiring into the Alabama conviction and showing that it was void for jurisdictional errors committed during the trial.
There are references in the bill of exceptions to an extradition hearing before the governor, but no documents relating to such a hearing are to be found in the record.  Accordingly, there is no basis for a review of such proceedings.  That occasion could arise only in the event of a detention under a governor's warrant authorizing the arrest of a fugitive and his delivery to agents of the demanding state.
The function of the fugitive warrant under which the relator is detained is to provide for his arrest and detention pending the institution and conduct of an extradition proceeding.  Following the arrest the person held is brought before a judge or *Page 376 
magistrate and if his identity as the person charged with the crime is established and he is found to be a fugitive (except in cases where a person may be extradited though not a fugitive), he is committed pending extradition proceedings or until discharged, or he is admitted to bail.  The relator appears to have been admitted to bail.
The function of the writ of habeas corpus is to inquire into jurisdictional defects amounting to want of legal authority for the detention of the person in whose behalf it is asked.  Kushmanv. State ex rel. Panzer (1942), 240 Wis. 134,2 N.W.2d 862; In re Ziegler (1944), 245 Wis. 453,15 N.W.2d 34.
The relator argues that the matters set forth in the petition for the writ with respect to the conduct of the trial at which he was convicted for arson, and which stand admitted, show that the Alabama court had no jurisdiction to sentence him to prison and that his imprisonment is void under the authority of Johnson v. Zerbst (1938), 304 U.S. 458, 58 Sup. Ct. 1019,82 L. Ed. 1461; State ex rel. Drankovich v. Murphy (1946),248 Wis. 433, 22 N.W.2d 540, and other such cases.
If this proceeding were instituted for the purpose of inquiring into the relator's detention in the Alabama prison, the cases would be in point.  The warrant of imprisonment would be void and the writ would lie to release him.  However, the purpose of the present inquiry is not to inquire into his detention under the Alabama warrant of imprisonment but rather to inquire into his detention here to answer for the crime of escape from the Alabama prison and the validity of the Alabama imprisonment has nothing to do with the validity of his detention in Wisconsin.
An inquiry on habeas corpus into detention of a person under a fugitive warrant cannot extend to his guilt or innocence of the crime with which he may be charged.  The detention has nothing to do with the determination of guilt or innocence. It is but a step in a process by means of which guilt or innocence may eventually be determined by appropriate procedure looking *Page 377 
to that end.  While the authorities seem to differ, Wells might be permitted to establish the invalidity of his commitment to the Alabama prison in defense of an Alabama prosecution for the escape with which he is charged, but it is a matter which does not bear upon the legality of his detention under the fugitive warrant.
By the Court. — Order affirmed.